108 F.3d 1374
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff--Appellee,v.Denver Ade MARTIN, Defendant--Appellant.
    No. 96-7351.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  March 13, 1997.Decided:  March 19, 1997.
    
      PER CURIAM:
    
    
      1
      Denver Ade Martin, Appellant Pro Se.
    
    
      2
      Benjamin H. White, Jr., Assistant United States Attorney, David Bernard Smith, Assistant United States Attorney, Greensboro, North Carolina, for Appellee.
    
    
      3
      Before HALL, ERVIN, and WILKINS, Circuit Judges.
    
    PER CURIAM:
    
      4
      Appellant seeks to appeal the district court's order denying his motion filed under 28 U.S.C. § 2255 (1994), amended by Antiterrorism and Effective Death Penalty Act of 1996, Pub.L. No. 104-132, 110 Stat. 1214.  We have reviewed the record and the district court's opinion accepting the recommendation of the magistrate judge and find no reversible error.  Accordingly, we deny a certificate of appealability and dismiss the appeal on the reasoning of the district court.  United States v. Martin, Nos.  CR-91-256-S;  CA-95-4-604 (M.D.N.C. Aug. 1, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    